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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                              CIVIL MINUTES − GENERAL

Case No.     2:20−cv−11054−CJC−AS                 Date                 4/12/2021
Title        MIRIAM MALDONADO V. S S REALTY LLC ET AL

Present : The Honorable CORMAC J. CARNEY, U.S. DISTRICT JUDGE

               Cheryl Wynn                                 Not Reported
               Deputy Clerk                         Court Reporter / Recorder


     Attorneys Present for Plaintiffs:         Attorneys Present for Defendants:
              None Present                                None Present


Proceedings:        (IN CHAMBERS) ORDER DISMISSING ACTION ON
                    NOTICE OF SETTLEMENT

      Having been advised by a Notice of Settlement [16] that the case has been
settled in its entirety, the Court hereby orders this action dismissed without
prejudice. The Court further orders all proceedings in the case vacated and taken
off calendar.
     The Court retains jurisdiction for sixty (60) days to vacate this order and to
reopen the action upon showing of good cause that the settlement has not been
completed.


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                                             Initials of Deputy Clerk: cw




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